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 3   Sacramento, CA 95814
     Telephone: (916) 447-1200
 4
     Attorney for Defendant
 5   EVA HOLLAND

 6

 7                       IN THE UNITED STATES DISTRICT COURT

 8                     FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,     )               No. CR.S-05-083 EJG
                                   )
11             Plaintiff,          )               STIPULATION AND
                                   )               ORDER RESETTING PRESENTENCE
12        v.                       )               SCHEDULE AND CONTINUING
                                   )               SENTENCING HEARING
13   EVA HOLLAND, et al.,          )
                                   )               Date:      January 27, 2006
14             Defendants.         )               Time:      10:00 a.m.
     ______________________________)               Judge:     Hon. Edward J. Garcia
15

16         IT IS HEREBY stipulated between the United States of America

17   through its undersigned counsel, R. Steven Lapham, Assistant

18   United States Attorney, together with counsel for defendant Eva

19   Holland, Kevin D. Clymo, counsel for defendant Lili Holland,

20   Joseph J. Wiseman, counsel for defendant Ryan Lewis, Timothy

21   Zindel, and the probation officer, Linda Alger, that the schedule

22   for preparing and disclosing the final presentence report is

23   amended as set forth below.           The hearing on judgment and sentence

24   is continued to March 17, 2006, at 10:00 a.m.1, thus vacating the

25   hearing now set for January 27, 2006.               The new schedule:

26         (1) Informal objections to the draft presentence report

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             The parties have been advised by this Court’s Clerk that March 17, 2006 at
28   10:00 a.m. is an available date and time for judgment and sentencing in this matter.

                                               1
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 1   shall be sent to the probation officer by February 3, 2006;

 2         (2) The final presentence report shall be filed with the

 3   Court by February 17, 2006;

 4         (3) Any motion to correct the presentence report shall be

 5   filed by February 24, 2006;

 6         (4) Hearing on Judgment and Sentence shall be Friday, March

 7   17, 2006 at 10: a.m.

 8   IT IS SO STIPULATED.

 9   Dated: January 20, 2006                           /s/ Kevin D. Clymo
                                                     KEVIN CLYMO
10                                                   Attorney for Defendant
                                                     Eva Holland
11

12
     Dated: January 20, 2006                         QUIN DENVIR
13                                                   Federal Defender

14
                                                       /s/ Timothy Zindel
15                                                   Timothy Zindel2
                                                     Assistant Federal Defender
16                                                   Ryan Lewis

17

18   Dated: January 20, 2006                           /s/ Joseph J. Wiseman
                                                     Joseph J. Wiseman 2
19                                                   Attorney for Defendant
                                                     Lili Holland
20

21
     Dated: January 20, 2006                         McGREGOR W. SCOTT
22                                                   United States Attorney

23
                                               by:     /s/ R. Steven Lapham
24                                                   R. STEVEN LAPHAM 2
                                                     Assistant U.S. Attorney
25   ///

26   ///

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           2
28           Kevin D. Clymo has obtained authorization to sign on behalf of Joseph Wiseman,
     R. Steven Lapham, and Timothy Zindel.
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 1                                       ORDER

 2        GOOD CAUSE APPEARING, it is hereby ordered that the January

 3   27, 2006 judgment and sentence date is continued to March 17,

 4   2006 at 10:00 a.m. and that the schedule for preparing and

 5   disclosing the final presentence report is amended as set forth

 6   above.

 7   Dated: January 20, 2006                     /s/Edward J. Garcia     __
                                                 EDWARD J. GARCIA
 8                                               United States District Judge

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